O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                          UNITED STATES DISTRICT COURT
                         WESTERN                                         District of                             NORTH CAROLINA
          UNITED STATES OF AMERICA
                     V.                                                              ORDER OF DETENTION PENDING TRIAL
            RICKY LEE WOOD                                                         Case     1:09 cr 26-12
                              Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                            Part I— Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                 .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                    Alternative Findings (A)
X    (1) There is probable cause to believe that the defendant has committed an offense
          X   for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841(a)(1)                                  .
              under 18 U.S.C. § 924(c).
X    (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
X    (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

                                          SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                            Part II— W ritten Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence X a prepon-
derance of the evidence that
                                       SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                       Date                                                                           Signature of Judge
                                                                                      Dennis L. Howell, United States Magistrate Judge
                                                                                                 Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c)
Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                                   1:09 cr 26-12

UNITED STATES OF AMERICA,

Vs.                                                                      ADDENDUM TO
                                                                        DETENTION ORDER
RICKY LEE WOOD.
_______________________________

I. FACTORS CONSIDERED

       18 U.S.C. § 3142:
       (g) Factors to be considered.--The judicial officer shall, in determining whether there are
       conditions of release that will reasonably assure the appearance of the person as required and
       the safety of any other person and the community, take into account the available information
       concerning--
       (1) The nature and circumstances of the offense charged, including whether the offense is a
        crime of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;
       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

            (A) the person's character, physical and mental condition, family ties, employment,
                financial resources, length of residence in the community, community ties, past
                conduct, history relating to drug or alcohol abuse, criminal history, and record
                concerning appearance at court proceedings; and
             (B) whether, at the time of the current offense or arrest, the person was on probation,
                on parole, or on other release pending trial, sentencing, appeal, or completion of
                sentence for an offense under Federal, State, or local law; and
      (4) the nature and seriousness of the danger to any person or the community that would be
         posed by the person's release.




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  II.                                     FINDINGS


   As to factor:


   (g)(1): The nature and circumstances of the offense charged involve a controlled substance,
  that being cocaine base, more commonly known as crack cocaine.


   (g)(2): The weight of the evidence against the person appears to be at the level of probable
  cause. The only evidence presented as to this factor was the bill of indictment showing that
  probable cause had been found by the grand jury.


   (g)(3): The history and characteristics of the person


      (A) Family ties, employment, financial resources, length of residence in the community,
   community ties, past conduct, history relating to drug or alcohol abuse, criminal history
   and record concerning appearance at court appearances indicate that the defendant has
   family ties, he has employment through his aunt working on her farm. The defendant has
   had a length of residence in Macon county but also has resided in the state of Colorado,
   Haywood county, Caldwell county, the state of Georgia, Transylvania county and Buncombe
   county. The defendant’s history relating to drug or alcohol abuse shows that the defendant
   has used marijuana off and on for approximately 10 years and has used crack cocaine daily
   from 2000 to 2008. The defendant has not had any substance abuse treatment.


  The defendant has the following criminal convictions:
            Offense                                                         Conviction Date
  Reckless driving                                                      01/26/77
  Driving while impaired                                                03/01/78
  Assault on a female                                                   02/03/87
  Driving while license revoked                                          12/08/06
  Driving while impaired                                                 01/21/87
  No operators license                                                   07/11/88
  Driving while license revoked                                          01/14/92
  Intoxicated and disruptive                                            11/27/91
  Driving while license revoked                                          10/20/92
  Misdemeanor possession of stolen property                              08/03/94
  Misdemeanor intoxicated and disruptive                                 04/12/95
  Misdemeanor possession of stolen property                              02/17/99
  Misdemeanor possession of stolen property                              09/17/98
  Misdemeanor possession of greater than ½ oz marijuana and misdemeanor
     possession of drug paraphernalia                                    02/18/99
  No operators license                                                    02/18/99
  Misdemeanor larceny                                                    08/05/03



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  Felony possession of a schedule II controlled substance                          03/18/04
  Misdemeanor larceny                                                              01/13/05
  Misdemeanor possession of drug paraphernalia                                     07/07/04
  Purchasing or possessing controlled drugs, willful obstruction of law
    enforcement officer, GA                                                        12/15/04
  Felony possession with intent to manufacture, sell and deliver a
    schedule II controlled substance                                                04/04/06
  Misdemeanor possession of drug paraphernalia                                      03/24/08
  Misdemeanor possession of drug paraphernalia                                      03/24/08
  Misdemeanor possession of drug paraphernalia                                      02/06/08

  The defendant’s record concerning appearance at court appearances shows that the defendant
  has failed to appear at least eight times on charges much less serious than those which are
  now pending against the defendant.

       (B) At the time of the current offense or arrest, the defendant was on probation, parole
   or other release pending trial, sentencing, appeal or completion of sentence. It appears that
   this factor does exist. During the period of time alleged in the bill of indictment the
   defendant was placed on probation on several occasions and his probation was revoked.
   Additionally, the defendant was charged on August 16, 2008 in Jackson County, NC with
   felony extortion. The defendant was released on bond. On December 23, 2008 the
   defendant was charged with felony obtaining property by false pretense, felony forgery of
   an instrument and felony uttering a forged instrument. The defendant was again released
   on bond. On December 30, 2008 the defendant was charged in Macon County, NC of
   misdemeanor communicating threats and was again released on bond. On January 29, 2009
   the defendant was charged in Macon County, NC with two counts of driving while license
   revoked and was again released on bond.


  (g)(4): The nature and seriousness of the danger to any person or the community that would
  be posed by the person’s release indicate by clear and convincing evidence that the release
  of the defendant would create a risk of harm or danger to any other person or the community.
  The charges against the defendant create a presumption that the release of the defendant
  would create a risk of harm or danger to any other person or the community. The
  presumption has not been rebutted by the defendant. The undersigned finds from the
  defendant’s criminal record there is clear and convincing evidence that the release of the
  defendant would create a risk of harm or danger to any other person or the community
  through the use and sale of crack cocaine
  The undersigned does find by a preponderance of the evidence that the release of the
  defendant would create a risk of flight on his part. The undersigned finds that this
  presumption has not been rebutted. The defendant has failed to appear on eight separate
  occasions. On other occasions, the defendant has appealed charges that were pending against
  him in which he has been found guilty in State District Court. The defendant has then failed
  to appear in Superior Court and those charges have been dismissed. There appears without
  a doubt that the release of the defendant would create a risk of flight on his part. As a result
  of the foregoing, the undersigned has determined to enter an order detaining the defendant
  pending further proceedings in this matter.



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  WHEREFORE, it is ORDERED that the defendant be detained pending further
  proceedings in this matter.
                                  Signed: May 20, 2009




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